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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 ISAAC SUTOR,                                     )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )     Case No. 1:19-cv-01602-LMB-JFA
                                                  )
 AMERIGROUP CORPORATION,                          )
                                                  )
        Defendant.                                )


         DEFENDANT’S CONSENT MOTION TO CONTINUE HEARING AND
          FOR EXTENSION OF TIME TO FILE RESPONSE TO COMPLAINT

       Defendant Amerigroup Corporation, by counsel, pursuant to Fed. R. Civ. P. 6(b)(1) and

Local Civil Rule 7(F)(2)(b), files this consent motion to continue the hearing set for February 21,

2020, on its Motion to Stay, and for an extension of time up to and including March 27, 2020,

within which to file its response to the Complaint filed by Plaintiff, Isaac Sutor. In support of its

requests, Defendant states as follows:

       1.      Defendant respectfully requests that the Court (i) continue the hearing on its Motion

to Stay currently scheduled for February 21, 2020, to March 13, 2020, and (ii) extend the deadline

to respond to Plaintiff’s Complaint to March 27, 2020. There is good cause for both requests.

       2.      This lawsuit was filed on December 20, 2019. [ECF No. 1.] Defendant waived

service of the Summons and Complaint, making its response due by March 2, 2020. [ECF No. 6.]

Pending before the Court is a Motion to Stay filed by Defendant. [ECF No. 7.] Defendant noticed

its hearing on the Motion to Stay for February 21, 2020, so that the Motion to Stay could be ruled

on before the responsive pleading deadline.

       3.      Counsel for Plaintiff has a conflict on February 21, 2020 and requested that the

hearing on the Motion to Stay be rescheduled. Because of intervening conflicts, the first date that
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counsel for both sides are be available is March 13, 2020. For this reason, Defendant, with the

consent of Plaintiff, requests that the hearing on the Motion to Stay be continued to March 13,

2020, at 10:00 a.m.

           4.      Accordingly, Defendant also requests that its deadline to respond to the Complaint

be extended to March 27, 2020, which is two weeks after the proposed new hearing date on the

Motion to Stay.

           5.      As explained in its Motion to Stay, after this lawsuit was filed, on January 10, 2020,

the Supreme Court granted certiorari in American Association of Political Consultants, Inc. v. FCC

(“AAPC”) to decide whether the ATDS restrictions listed in the TCPA are constitutional. See Am.

Ass’n of Political Consultants, Inc. v. FCC, 923 F.3d 159 (4th Cir. 2019), cert. granted sub nom.

Barr v. Am. Ass’n of Political Consultants, Inc., ___ S. Ct. ___, No. 19-631, 2020 WL 113070

(Mem.) (U.S. Jan. 10, 2020).

           6.      Plaintiff opposes Defendant’s request for a stay. First, the questions presented to

the Supreme Court are “[w]hether the government-debt exception to the TCPA’s automated-call

restriction violates the First Amendment, and whether the proper remedy for any constitutional

violation is to sever the exception from the remainder of the statute.”1 The government-debt

exception is not relevant to this case. Second, Plaintiff believes that any stay will be prejudicial to

Plaintiff. These issues will be discussed in more detail in Plaintiff’s forthcoming opposition.

           7.      In ruling on the Motion to Stay, the Court will decide whether this case should

proceed or whether the action should be stayed pending the resolution of the AAPC case.

           8.      Though the Parties disagree on the merits of the Motion to Stay, the Parties agree

that it is in the interest of fairness and judicial economy that the Motion to Stay be heard prior to

Defendant’s responsive pleading deadline.

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    Available at https://www.supremecourt.gov/docket/docketfiles/html/public/19-631.html



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           9.    Accordingly, Plaintiff consents to the extension of Defendant’s responsive pleading

deadline, which is less than a month after the current deadline. No scheduling order has been

issued in the case, and no other deadlines need to be moved. This is Defendant’s first request to

extend the deadline to respond to the Complaint.

           10.   For these reasons, Defendant submits there is good cause to grant the Consent

Motion, continue the hearing on the Motion to Stay, and extend the deadline to respond to the

Complaint.

           WHEREFORE, for the foregoing reasons, Defendant Amerigroup Corporation,

respectfully requests that the Court grant its Consent Motion, continue the hearing set for February

21, 2020 to March 13, 2020, extend the deadline to respond to the Complaint, if necessary, to

March 27, 2020, and award all other just and equitable relief.


Dated: February 19, 2020               Respectfully submitted,

                                       AMERIGROUP CORPORATION

                                       /s/ Massie P. Cooper
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